                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


 BOYD SMITH, NANCY SMITH,                       )
 JOEY SMITH, JEFFREY SMITH,                     )
 JILL SMITH, BESSIE HACKNEY,                    )
 WILLIAM GRAY, PEGGY GRAY,                      )
 and GREGORY HOUSTON,                           )
                                                )
                Plaintiffs,                     )
                                                )
 v.                                             )      No. 3:04-CV-591
                                                )      (JARVIS/GUYTON)
 FIRST CENTURY BANK,                            )
 CONNIE DYER, SHERI LAWSON,                     )
 and DELORIS GRAVES,                            )
                                                )
                Defendants.                     )      Consolidated


 ERNEST NICELY and                              )
 PATRICIA NICELY,                                      )
                                                )
                Plaintiffs,                     )
                                                )
 v.                                             )      No. 3:05-CV-175
                                                )
 FIRST CENTURY BANK,                            )
 CONNIE DYER, SHERI LAWSON,                     )
 and DELORIS GRAVES,                            )
                                                )
                Defendants.                     )


                                 MEMORANDUM AND ORDER

                This matter is before the undersigned pursuant to the provisions of 28 U.S.C. §636(b),

 the Rules of this Court, and by Order [Docs. 195 and 208] of the Honorable James H. Jarvis, United

 States District Judge, for disposition of motions to compel filed by both parties [Docs. 194 and 196].

 The Court held a hearing on these motions on September 14, 2006. Participating on behalf of




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 Plaintiffs was attorney Adrienne L. Anderson. Participating on behalf of Defendants were attorneys

 M. Edward Owens, Jr., Christopher W. Conner, Kevin Fox, and Dale J. Montpelier.

 I.      Plaintiffs’ Motion to Compel Testimony of Witnesses Who Were Instructed not to

 Answer Deposition Questions and to Compel Production of Documents

                Plaintiffs filed a Motion to Compel the testimony of certain witnesses and the

 production of certain documents. [Doc. 196]. Each item in Plaintiffs’ motion will be addressed in

 turn.

         a.     Testimony of Connie Dyer concerning conversations between Ms. Dyer, counsel for

                First Century, and counsel for Deloris Graves

                Plaintiffs’ Motion to Compel [Doc. 196] is DENIED with respect to the testimony

 of Connie Dyer concerning conversations between Ms. Dyer, counsel for First Century, and counsel

 of Deloris Graves. The Court finds that, for the purposes of the one conversation between

 Defendants and their counsel, Ms. Dyer, First Century, and Deloris Graves shared a common legal

 interest, and therefore the conversation between Ms. Dyer, counsel for First Century, and counsel

 of Deloris Graves are protected by the common interest privilege and are not subject to discovery.

 See Reed v. Baxter, 134 F.3d 351, 357 (6th Cir. 1998).

         b.     Testimony of Ms. Dyer concerning her conversations with the FBI

                Plaintiffs’ Motion to Compel [Doc. 196] is GRANTED with respect to the testimony

 of Ms. Dyer concerning her conversations with the FBI. The Court finds that this testimony is

 relevant and discoverable under Fed. R. Civ. Pro. 26(b)(1); Defendant has not raised any privilege

 which would protect this testimony, and Defendant’s instruction that Ms. Dyer not answer questions

 concerning her conversations with the FBI was improper.


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        c.      Testimony of Joyce Love concerning her conversations with the Tennessee State

                Banking Commission

                In light of Defendant’s claim that they will make Ms. Love available to answer

 questions regarding the Tennessee State Banking Commission, Plaintiffs’ Motion to Compel [Doc.

 196] is GRANTED with respect to the testimony of Joyce Love concerning her conversations with

 the Tennessee State Banking Commission.

        d.      Testimony of Joyce Love concerning her conversations with the FDIC

                In light of Defendant’s claim that they will make Ms. Love available to answer

 questions regarding the FDIC, Plaintiffs’ Motion to Compel [Doc. 196] is GRANTED with respect

 to the testimony of Joyce Love concerning her conversations with the FDIC.

        e.      Testimony of Tom Mottern regarding why Gary Rowe no longer works for the bank

                Plaintiffs’ Motion to Compel [Doc. 196] is GRANTED with respect to the testimony

 of Tom Mottern regarding why Gary Rowe no longer works for the bank. The Court finds that

 testimony is relevant and discoverable under Fed. R. Civ. Pro. 26(b)(1); Defendant has not raised

 any privilege which would protect this testimony, and Defendant’s instruction that Mr. Mottern not

 answer questions concerning why Mr. Rowe left the bank was improper.

        f.      Production of Ms. Love’s notes taken during her first meeting with Connie Dyer in

                August of 2004.

                In light of Defendant’s claim that they will make Ms. Love’s notes available,

 Plaintiffs’ Motion to Compel [Doc. 196] is GRANTED with respect to the production of Ms. Love’s

 notes taken during her first meeting with Connie Dyer in August of 2004.




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        g.      Production of Ms. Love’s notes taken during her second meeting with Connie Dyer

                in August of 2004.

                In light of Defendant’s claim that they will make Ms. Love’s notes available,

 Plaintiffs’ Motion to Compel [Doc. 196] is GRANTED with respect to the production of Ms. Love’s

 notes taken during her second meeting with Connie Dyer in August of 2004.

        h.      Production of Ms. Love’s notes taken during her discussions with bank employee

                Marla Buckner in August of 2004.

                Defendant has indicated that the only notes that exist concerning Ms. Love’s

 conversation with Ms. Buckner were created at the behest of counsel in preparation for litigation,

 and are therefore protected as work-product. Because Plaintiffs have not made the showing required

 under Fed. R. Civ. P. 26(b)(3) for discovery of work-product, Plaintiffs’ Motion to Compel [Doc.

 196] is DENIED with respect to production of Ms. Love’s notes taken during her discussions with

 Ms. Buckner in August of 2004.

 II.    Defendant First Century Bank’s Motion to Compel Discovery

                Defendant First Century Bank filed a Motion to Compel Discovery. [Doc. 194].

 Each item in Defendant’s motion will be addressed in turn.

        a.      A complete description of First Century Bank’s alleged wrongful acts

                In light of Plaintiffs’ amended complaint [Doc. 193], Defendant’s Motion to Compel

 [Doc. 194] is DENIED with respect to Defendant’s request that Plaintiffs provide a complete

 description of First Century Bank’s alleged wrongful acts. The description of the alleged wrongful

 acts provided in the amended complaint satisfies the demands of the Federal Rules of Civil

 Procedure.


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        b.      The actual monetary value of Plaintiffs’ damages

                Plaintiffs have indicated that they are without personal knowledge as to the specific

 monetary value of their damages, and that they will be provide a complete disclosure of the actual

 monetary value of their damages with their expert disclosures. Therefore, Defendant’s Motion to

 Compel [Doc. 194] is DENIED with respect to Defendant’s request that Plaintiffs provide the actual

 monetary value of Plaintiffs’ damages. However, if Plaintiffs’ expert disclosures do not include a

 listing of Plaintiffs’ actual monetary damages, Defendant may renew this motion at that time.

                IT IS SO ORDERED.

                                              ENTER:


                                                    s/ H. Bruce Guyton
                                              United States Magistrate Judge




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